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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     IN RE EX PARTE APPLICATION OF                     Case No. 20-mc-80156-VKD
                                         TATIANA AKHMEDOVA,
                                   9                                                       ORDER RE EX PARTE APPLICATION
                                                        Applicant.                         FOR DISCOVERY PURSUANT TO 28
                                  10                                                       USC § 1782

                                  11
                                                                                           Re: Dkt. No. 1
                                  12
Northern District of California
 United States District Court




                                  13
                                              Applicant Tatiana Akhmedova has filed an ex parte application for an order pursuant to 28
                                  14
                                       U.S.C. § 1782 authorizing service of a subpoena for documents on Google LLC (“Google”). Dkt.
                                  15
                                       Nos. 1-4. Although the proposed subpoena is directed to Google, Ms. Akhmedova will use the
                                  16
                                       subpoena to obtain information regarding Google accounts believed to be associated with her son
                                  17
                                       Temur Akhmedov.
                                  18
                                              Mr. Temur Akhmedov initially sought permission to intervene to oppose the application.
                                  19
                                       Dkt. No. 5. However, the parties have since resolved their dispute concerning both intervention
                                  20
                                       and service of the proposed subpoena, as reflected in a stipulation filed with the Court. Dkt. Nos.
                                  21
                                       9, 10. In addition, Mr. Akhmedov agrees that he will not oppose Ms. Akhmedova’s application
                                  22
                                       for discovery and consents to the application “without qualification.” Dkt. No. 9 at 2.
                                  23
                                              Ms. Akmedova’s application meets the statutory criteria for an order under 28 U.S.C.
                                  24
                                       § 1782 authorizing service of the proposed subpoena on Google. In addition, the factors that
                                  25
                                       inform the Court’s exercise of its discretion under Intel Corp. v. Advanced Micro Devices, Inc.,
                                  26
                                       542 U.S. 241, 264-65 (2004) favor authorizing service of the subpoena. Accordingly, the Court
                                  27
                                       grants the application and authorizes service on Google of a subpoena for the following
                                  28
                                           Case 5:20-mc-80156-JD Document 12 Filed 10/06/20 Page 2 of 2




                                   1   information:

                                   2          a) All non-content electronically stored information ("ESI"), including but not limited to

                                   3          all metadata and subscriber information for the following email accounts:

                                   4                    i) temur@akhmedov.net;

                                   5                    ii) temur@stecapital.net;

                                   6                    iii) khyshen@gmail.com;

                                   7                    iv) temur.akhmedov@gmail.com;

                                   8                    v) any other email address where Temur Akhmedov is determined to be the

                                   9                    subscriber or account holder.

                                  10          b) All emails, documents or information regarding the above-listed accounts which

                                  11          would ordinarily be recoverable to a subscriber or account holder through the account

                                  12          recovery process with Google or based on the consent of the subscriber or account
Northern District of California
 United States District Court




                                  13          holder.

                                  14          Google shall produce the documents and information requested in the subpoena within

                                  15   fourteen (14) days of service of the subpoena. Google shall produce the documents directly to the

                                  16   independent IT forensic expert appointed by the English Court, Aon, whose contact information

                                  17   for such production shall be provided by Ms. Akhmedova. Google shall preserve documents,

                                  18   information and evidence, electronic or otherwise, in its possession, custody or control that

                                  19   contain information potentially relevant to the subject matter of the Ms. Akhmedova’s request.

                                  20          This order does not foreclose a motion to quash or further modify the subpoena following

                                  21   service, or a motion to enforce the subpoena.

                                  22          A copy of this order shall be served with the subpoena.

                                  23          IT IS SO ORDERED.

                                  24   Dated: October 6, 2020

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                                                                                                    VIRGINIA K. DEMARCHI
                                  27                                                                United States Magistrate Judge
                                  28
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